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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


                     FEE APPLICATION COVER SHEET FOR THE PERIOD
                      FEBRUARY 1, 2022 THROUGH FEBRUARY 28, 2022

 Debtor:        LTL Management LLC               Applicant:        Cooley LLP

 Case No.:      21-30589 (MBK)                   Client:           Official Committee of Talc Claimants II

 Chapter:       11                               Case Filed:       October 14, 2021



                                            SECTION 1
                                          FEE SUMMARY

 ☒ Monthly Fee Application No. 2 or ☐ Interim Fee Application No.          or ☐ Final Fee Application

 Summary of Amounts Requested for the Period from February 1, 2022 through February 28, 2022
 (the “Second Statement Period”) by the Official Committee of Talc Claimants II (“TCC II”):

  Total Fees:                                                                               $4,817,849.00
  Total Disbursements:                                                                        $121,386.40
  Minus 20% Holdback of Fees:                                                               ($963,569.80)
  Total Amount Sought To Be Paid At This Time:                                              $3,975,665.60



  NAME OF PROFESSIONAL                     YEAR ADMITTED             HOURS         RATE           FEE
  & TITLE                                      (Or Years of
                                           Professional Service)

  1. Heidi A. Lawson, Partner                       1997                   0.9    $1,420         $1,278.00

  2. Cathy Rae Hershcopf, Partner                   1989                  73.6    $1,420      $104,512.00

  3. Jason L. Kent, Partner                         1998                   2.0    $1,360         $2,720.00

  4. Kathleen R. Hartnett, Partner                  2003                   5.7    $1,340         $7,638.00

  5. Matthew Kutcher, Partner                       2001                 236.6    $1,340      $317,044.00

  6. Ian Ross Shapiro, Partner                      2001                 208.0    $1,305      $271,440.00

  7. Russell Capone, Partner                        2006                 148.4    $1,285      $190,694.00

  8. Cullen D. Speckhart, Partner                   2009                 236.4    $1,225      $289,590.00

  9. Shamis Beckley, Partner                        2012                 209.7    $1,215      $254,785.50

  10. Michael Klein, Partner                        2005                 189.3    $1,180      $223,374.00



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  NAME OF PROFESSIONAL                       YEAR ADMITTED           HOURS     RATE        FEE
  & TITLE                                        (Or Years of
                                             Professional Service)

  11. David A. Vogel, Special Counsel               1994                40.7   $1,175    $47,822.50

  12. Nicholas A. Flath, Special Counsel            2012               251.1   $1,170   $293,787.00

  13. Reed A. Smith, Special Counsel                1999                80.5   $1,165    $93,782.50

  14. Erica J. Richards, Special Counsel            2007               141.5   $1,165   $164,847.50

  15. David H. Kupfer, Associate                    2011               127.5   $1,155   $147,262.50

  16. Lauren A. Reichardt, Associate                2015               152.4   $1,155   $176,022.00

  17. Summer M. McKee, Associate                    2015               129.3   $1,155   $149,341.50

  18. Robert W. Jacques, Associate                  2013                 9.0   $1,155    $10,395.00

  19. Patrick J. Hayden, Associate                  2015                 2.4   $1,155     $2,772.00

  20. Elizabeth A. Trafton, Associate               2015               187.1   $1,140   $213,294.00

  21. Evan M. Lazerowitz, Associate                 2013               214.5   $1,140   $244,530.00

  22. Rachel F. Katz, Associate                     2016                 9.1   $1,140    $10,374.00

  23. Julie M. Veroff, Associate                    2016                18.0   $1,140    $20,520.00

  24. Joseph W. Brown, Associate                    2017                47.6   $1,115    $53,074.00

  25. Amanda L. Liverzani, Associate                2017               180.0   $1,115   $200,700.00

  26. Paul J. Springer, Associate                   2016               114.2   $1,115   $127,333.00

  27. Olya Antle, Associate                         2012                75.1   $1,115    $83,736.50

  28. Jared R. Kasner, Associate                    2015                83.1   $1,000    $83,100.00

  29. Weiru Fang, Associate                         2019                71.8   $920      $66,056.00

  30. Jeremiah P. Ledwidge, Associate               2018               182.0   $920     $167,440.00

  31. Brandon McLaughlin, Associate                 2019                30.4   $820      $24,928.00

  32. Lauren E. Fowler, Associate                   2021               201.3   $720     $144,936.00

  33. Hanna C. Evensen, Associate                   2021                36.5   $720      $26,280.00

  34. Rachel H. Alpert, Associate                   2021               148.2   $620      $91,884.00

  35. Kimberley A. Bishop, Associate                2021               110.9   $620      $68,758.00

  36. Zoë W. Helstrom, Associate                    2021                 1.1   $620        $682.00


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  NAME OF PROFESSIONAL                    YEAR ADMITTED           HOURS     RATE      FEE
  & TITLE                                     (Or Years of
                                          Professional Service)

  37. Joyce V. Rodriguez-Luna, Law               N/A                139.3   $610    $84,973.00
      Clerk

  38. Cristina A. Lombardi, Law Clerk             N/A                12.8   $610     $7,808.00

  39. Hilarie B. Laing, Paralegal                 N/A                62.3   $490    $30,527.00

  40. Erin L. Combs, Paralegal                    N/A               286.8   $415   $119,022.00

  41. Lawrence Eric Bolton, Paralegal             N/A                 2.9   $410     $1,189.00

  42. Veronica Rusu, Paralegal                    N/A                43.5   $395    $17,182.50

  43. Justin E. Royer, Paralegal                  N/A                 3.1   $380     $1,178.00

  44. Mollie N. Canby, Paralegal                  N/A                37.6   $380    $14,288.00

  45. Denise Cahir, Paralegal                     N/A               221.2   $350    $77,420.00

  46. Aidan T. Lee, Paralegal                     N/A                 6.5   $225     $1,462.50

  47. Dmitry Spektor, Lit-E-Discovery            N/A                  7.8   $385     $3,003.00
      Svcs.

  48. Julie Ruse, Lit-E-Discovery Svcs.           N/A                 3.4   $340     $1,156.00

  49. Derek Cole, Lit-E-Discovery Svcs.           N/A               196.8   $340    $66,912.00

  50. Azadeh Sakizadeh, Managing Clerk            N/A                 1.6   $350      $560.00

  51. Lisa D. MacDonald,                         N/A                  1.3   $345      $448.50
      Information/Research Svcs.

  52. Zach Kerns, Information/Research           N/A                  3.0   $345     $1,035.00
      Svcs.

  53. Paul Johns, Information/Research           N/A                  7.9   $345     $2,725.50
      Svcs.

  54. Douglas C. Lyles,                          N/A                  0.8   $345      $276.00
      Information/Research Svcs.

  55. Maribel H. Nash,                           N/A                 15.5   $345     $5,347.50
      Information/Research Svcs.

  56. Kimball Fontein,                           N/A                  0.9   $345      $310.50
      Information/Research Svcs.

  57. Rafael Sanchez,                            N/A                 12.2   $345     $4,209.00
      Information/Research Svcs.


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  NAME OF PROFESSIONAL                     YEAR ADMITTED           HOURS         RATE    FEE
  & TITLE                                      (Or Years of
                                           Professional Service)

  58. Tryphena Smith, Senior Docket               N/A                      0.3   $275     $82.50
      Analyst



        Fee Totals:                                       $4,817,849.00
        Disbursements Totals:                                $121,386.40
        Total Fee Application:                            $4,939,235.40
        Amount Sought at this Time:                       $3,975,665.60




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                                                  SECTION II
                                              SUMMARY OF SERVICES

     SERVICES RENDERED                                                                   HOURS           FEE
     a)   Asset Analysis and Recovery:
          Identification and review of potential assets including causes of action and      64.2           $40,971.00
          non-litigation recoveries.
     b) Asset Disposition
                                                                                              0.0                  $0.00
        Sales, leases, abandonment and related transaction work.
     c)   Avoidance Action Litigation
                                                                                              0.0                  $0.00
          Preference and fraudulent transfer litigation.
     d) Business Operations
        Issues related to debtor-in-possession operating in chapter 11 such as                0.0                  $0.00
        employee, vendor, tenant issues and other similar problems.
     e)   Case Administration
          Coordination and compliance activities, including preparation of
          statement of financial affairs, schedules, list of contracts, United States       74.7           $60,082.50
          Trustee interim statements and operating reports; contacts with the United
          States Trustee; general creditor inquires.
     f)   Claims Administration and Objections
          Specific claim inquiries; bar date motions; analyses, objections and             451.8          $465,909.50
          allowance of claims.
     g) Employee Benefits/Pensions
        Review issues such as severance, retention, 401K coverage and                         0.0                  $0.00
        continuance of pension plan.
     h) Fee/Employment Applications
        Preparations of employment and fee applications for self or others;                 29.4           $25,035.00
        motions to Establish interim procedures.
     i)   Fee/Employment Objections
                                                                                              0.8                $944.00
          Review of an objections to the employment and fee applications of others.
     j)   Financing
          Matters under 361, 363 and 364 including cash collateral and secured                0.0                  $0.00
          clams; loan document analysis.
     k) Litigation
                                                                                          2,575.7       $2,369,614.00
        Other than Avoidance Action Litigation
     l)   Meetings
                                                                                           143.6          $166,757.50
          Preparing for and attending meetings.1
     m) Plan and Disclosure Statement
        Formulation, presentation and confirmation; compliance with the plan
        confirmation order, related orders and rules; disbursement and case                 46.8           $53,334.50
        closing activities, except those related to allowance and objections to
        allowance of claims.



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   Included in this category is all time spent on meetings. $79,857.50 of fees were incurred preparing for and
 attending conferences and meetings with TCC II members and/or their representatives. $86,900.00 of fees were
 incurred preparing for and attending other meetings.

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  SERVICES RENDERED                                                                  HOURS       FEE
  n) Relief from Stay Proceedings
     Matters relating to termination or continuation of automatic stay under              5.2      $4,878.00
     362.
  o) Accounting/Auditing
     Activities related to maintaining and auditing books of account,                     0.0          $0.00
     preparation of financial statements and account analysis.
  p) Business Analysis
     Preparation and review of company business plan; development and                     0.0          $0.00
     review of strategies; preparation and review of cash flow forecasts and
     feasibility studies.
  q) Corporate Finance
     Review financial aspects of potential mergers, acquisitions and disposition          0.0          $0.00
     of company or subsidiaries.
  r)   Data Analysis
       Management information systems review, installation and analysis,                  0.0          $0.00
       construction, maintenance and reporting of significant case financial data,
       lease rejection, claims, etc.
  s)   Litigation Consulting
       Providing consulting and expert witness services related to various                0.0          $0.00
       bankruptcy matters such as insolvency, feasibility, avoiding actions;
       forensic accounting, etc.
  t)   Reconstruction Accounting
       Reconstructing books and records from past transactions and brining                0.0          $0.00
       accounting current.
  u) Tax Issues
                                                                                          0.0          $0.00
     Analysis of tax issues and preparation of state and federal tax returns.
  v) Valuation
                                                                                          0.0          $0.00
     Appraise or review appraisals of assets.
  w) Travel Time (billed at 50%)                                                        39.5      $41,316.50
  x) Hearings
                                                                                      1,591.7   $1,589,006.50
     Preparation for and attendance at hearings.
  SERVICE TOTALS:                                                                     5,023.4   $4,817,849.00




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                                           SECTION III
                                     SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                                 AMOUNT

   a)   Filing Fees                                                                         $750.00
        Payable to Clerk of Court.

   b)   Computer Assisted Legal Research                                                    $795.20
        Westlaw, Lexis and a description of manner calculated.

   c)   Pacer Fees                                                                             $0.00
        Payable to the Pacer Service Center for search and/or print.

   d)   Fax                                                                                    $0.00
        Include per page fee charged.

   e)   Case Specific Telephone/Conference Call Charges                                        $0.00
        Exclusive of overhead charges.

   f)   In-house Reproduction Services                                                         $0.00
        Exclusive of overhead charges.

   g)   Outside Reproduction Services                                                      $1,899.64
        Including scanning services. This includes trial preparation.

   h)   Other Research                                                                         $0.00
        Title searches, UCC searches, Asset searches, Accurint.

   i)   Court Reporting                                                                    $3,655.95
        Transcripts.

   j)   Travel                                                                            $28,293.65
        Mileage, tolls, airfare, parking.

   k)   Courier & Express Carriers (FedEx)                                                  $886.19
        Overnight and personal delivery.

   l)   Postage                                                                                $0.00

   m) Meals                                                                                $8,731.61

   n)   Miscellaneous                                                                      $2,629.74

   o)   Additional Services                                                               $39,735.31

   p)   Professional Services                                                                  $0.00

   q)   Supplies                                                                             $48.32

   r)   Document Preparation                                                                $399.73

   s)   Hotels                                                                            $33,561.06

   DISBURSEMENTS TOTAL:                                                                  $121,386.40


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 I certify under penalty of perjury that the above is true.

 Date:   March 30, 2022                                       /s/ Cullen D. Speckhart
                                                              Cullen D. Speckhart




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